            Case
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 6                            UNITED STATES DISTRICT COURT
 7
                             WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 8

 9   UNITED STATES OF AMERICA,                         NO. CR-12-5001-4-BHS
10
                     Plaintiff,                    [PROPOSED]
                                                    XXXXXXXX ORDER GRANTING
11                                                 RELEASE PENDING APPEAL
                     vs.
12

13   HUNG VIET TRAN,
14
                     Defendant.
15

16   __________________________________
                                      _
17
             This Court having considered defendant Hung Viet Tran’s
18

19
     unopposed motion to continue his release from custody pending an

20
     appeal of his conviction, and finding (1) by clear and convincing
21
     evidence that Defendant is unlikely to flee and does not pose a danger
22

23   to public safety; (2) by a preponderance of the evidence that the appeal
24
     is not for the purpose of delay and raises a substantial question of law
25

26   or fact likely to result in (i) a reversal, (ii) an order for a new trial, (iii) a
27
     sentence that does not include a term of imprisonment, or (iv) a reduced
28
                                                             Edmond Law, PLLC
     Unopposed Motion for Release Pending Appeal             2615 11th Avenue W
     Memorandum - PAGE 1                                      Seattle, WA 98119
                                                                (206) 428-7734
                                                             (888) 842-3803 (fax)
            Case
             Case3:12-cr-05001-BHS  Document 315-2
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 1   sentence to a term of imprisonment less than the total of the time
 2
     already served plus the expected duration of the appeal process; and (3)
 3

 4   that there are exceptional reasons why it would be inappropriate to
 5
     remand defendant into custody pending the outcome of his appeal,
 6

 7           IT IS HEREBY ORDERED that Defendant shall remain free on
 8
     bond pending his appeal.
 9

10           IT IS FURTHER ORDERED that the conditions of Defendant’s
11
     pretrial and presentence release shall remain in full effect until such
12

13   time as his appeal is concluded and this court determines that it is
14
     appropriate to remand Defendant into custody.
15

16           Dated this 9th           day of December, 2013.
17




              A
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19

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             ____________________________
21           Benjamin H. Settle
             United States District Judge
22

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                                                               Edmond Law, PLLC
     Unopposed Motion for Release Pending Appeal               2615 11th Avenue W
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